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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                                CENTRAL DIVISION

                                                                            CLERK


 UNITED STATES OF AMERICA,


             Plaintiff,                      REDACTED INDICTMENT


       V.                                    AGGRAVATED SEXUAL ABUSE BY
                                             FORCE and SEXUAL ABUSE OF A
 RONNIE KEITH CIRCLE BEAR,                   PERSON INCAPABLE OF
                                             CONSENTING
             Defendant.
                                              18 U.S.C. §§ 1153, 2241 (a), 2242(2),
                                             and 2246(2) (A)



      The Grand Jury charges:


                                    COUNT I


      On or about the 23rd day of June, 2014, at Eagle Butte, in Indian country,


in the District of South Dakota, Ronnie Keith Circle Bear, an Indian, did


knowingly cause, and attempt to cause, [Name Redacted] to engage in a sexual


act, that is, contact between his penis and her vulva, by the use of force, in


violation of 18 U.S.C. §§ 1153, 2241 (a) and 2246(2)(A).

                                    COUNT II


      On or about the 23rd day of June, 2014, at Eagle Butte, in Indian country,


in the District of South Dakota, Ronnie Keith Circle Bear, an Indian, did engage


in, and attempt to engage in, a sexual act, that is, contact between his penis and


[Name Redacted] 's vulva, when [Name Redacted] was incapable of appraising the


nature of the conduct and was physically incapable of declining participation in


and communicating unwillingness to engage in a sexual act, when at the time
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Ronnie Keith Circle Bear knew [Name Redacted] was so incapacitated, in

violation of 18 U.S.C. §§ 1153, 2242(2), 2246(2)(A).


                                            A TRUE BILL:


                                            NAME REDACTED


                                            Foreperson
BRENDAN V. JOHNSON
United States Attorney




By
